
TMs cause came on to be heard upon the petition for mandamus, the answer, reply, supplemental answer and reply to the supplemental answer, and was argued by counsel. On consideration whereof this court finds the' issues in favor of the respondent, and denies the writ prayed for.
Relator, Edgar Moore, was engaged in structural steel work in erecting an addition to a building in the city of Akron. The old portion of the building was protected by a tarpaulin which was held in place by large wooden planks. In moving an I-beam towards its ultimate position in the steel structure, the I-beam struck a plank, which fell and knocked the relator from where he was standing, injuring him. Relator filed an application and was awarded compensation for impairment of earning capacity. Subsequently the Industrial Commission awarded twenty-five per cent, additional compensation for the violation of a specific requirement, but, without written notice to the claimant, the commission on November 3, 1927, discontinued the additional award to the claimant upon the ground that there had been no such violation, and ordered that no such additional compensation be paid for violation of a specific requirement. Thereafter relator filed Ms petition in mandamus in this court, praying for a writ of mandamus commanding the Industrial Commission to pay an additional award in the amount of twenty-five per cent, of all compensation awarded to him since November 3, 1927, and of all compensation to be awarded him in the future, the relator pleading the violation by his employer of the specific requirements adopted by the Industrial Commission for building and construction, pleading Sections 10, 14, 34, 36 and 66 thereof. *
Without determining whether the facts in this case *197constitute a violation of the specific requirements pleaded, this court is of the opinion that, under Section 35, Article II of the Constitution, the Industrial Commission is granted full power and authority to hear and determine whether an injury resulted'because of the failure of an employer to comply with any specific requirement for the protection of the safety- of employees, and the decision of the Industrial Commission is final. (Slatmeyer v. Industrial Commission, 115 Ohio St., 654.) In ordering that further payment of an additional award be discontinued, the Industrial Commission was proceeding under Section 35, Article II, vesting it with full power and authority to determine whether the injury resulted from the failure to comply with a specific requirement, and under the provisions of Section 1465-86, General Code, which confers continuing jurisdiction upon the Industrial Commission to make modification or change with respect to former findings or orders.
It is therefore ordered and adjudged that the writ prayed for be, and the same hereby is, denied.

Writ denied.

Weygandt, C. J., Jones, Matthias, Day and Zimmerman, JJ., concur.
Williams, J., concurs in the judgment.
